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Form nhrgccm
                                   UNITED STATES BANKRUPTCY COURT

                                          Eastern District of Arkansas


In Re:      Karen D Waters
            Debtor
                                                                            Case No.: 4:20−bk−12607
                                                                            Chapter: 13
                                                                            Judge: Richard D. Taylor
PLEASE TAKE NOTICE that a hearing will be held before Judge
Richard D. Taylor at

U.S. Bankruptcy Court, 300 W. 2nd Street, Little Rock, AR 72201

on 10/8/20 at 09:00 AM

to consider and act upon the following:

24 − Objection to Confirmation of Plan Filed by Sydney Lynn Rasch on behalf of Creditor US Bank Trust National
Association, as Trustee for TOWD Point Master Funding Trust 2017−PM18 (Rasch, Sydney)




Dated: 8/28/20
                                                   Linda McCormack, Clerk
                                                   By:
                                                   Allison Albritton
                                                   Deputy Clerk
